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                      COMPANY
                    7

                    8                                 UNITED STATES DISTRICT COURT

                    9                    EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
                   10

                   11 STEVEN R. MIRONOWSKI and RUBEN                        Case No. 1:22-cv-00675-JLT-CDB
                      MIRONOWSKI,
                   12
                                     Plaintiffs,                            DEFENDANT FORD MOTOR
                   13                                                       COMPANY’S NOTICE OF MOTION AND
                             vs.                                            MOTION FOR ENTRY OF PROTECTIVE
                   14                                                       ORDER TO GOVERN PRODUCTION OF
                      FORD MOTOR COMPANY; and DOES 1                        CONFIDENTIAL MATERIALS;
                   15 through 10, inclusive,                                MEMORANDUM OF POINTS AND
                                                                            AUTHORITIES
                   16                   Defendants.
                                                                            (Filed Concurrently with Declarations of
                   17                                                       Brian Vanderhoof; Jake Doss; and [Proposed]
                                                                            Order)
                   18

                   19                                                       DATE:     April 14, 2023
                                                                            TIME:     10:30 a.m.
                   20                                                       CRTM:     Bakersfield Courthouse

                   21
                                                                            Trial Date:          None Set
                   22

                   23

                   24             TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:

                   25             PLEASE TAKE NOTICE that on April 14, 2023, at 10:30 a.m., at the Bakersfield

                   26 courthouse located at 510 19th Street, Suite 200, Bakersfield, CA. Defendant FORD MOTOR

                   27 COMPANY (“Ford” or “Defendant”) will request the Court to enter Ford’s proposed protective

                   28 order (“Protective Order”) applicable to the production of materials pursuant to Plaintiffs’, Steven
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                    1 R. Mironowski and Ruben Mironowski (“Plaintiffs”), Requests for Production of Documents in this

                    2 matter.

                    3             The Motion is based upon good cause shown for granting the relief requested as set forth in

                    4 the attached Memorandum, the Declarations of Brian Vanderhoof and Jake Doss, and exhibits filed

                    5 concurrently herewith, as well as such evidence, oral and documentary, as may be presented at the

                    6 hearing.

                    7 DATED: March 9, 2023                          LEWIS BRISBOIS BISGAARD & SMITH LLP

                    8

                    9
                                                                    By:          /s/ Brian C. Vanderhoof
                   10                                                     BRIAN C. VANDERHOOF
                                                                          JONATHAN WON
                   11                                                     Attorneys for Defendant FORD MOTOR
                                                                          COMPANY
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                    1                          MEMORANDUM OF POINTS AND AUTHORITIES

                    2 I.          INTRODUCTION

                    3             Ford seeks the entry of its Protective Order to protect Ford’s confidential, proprietary and

                    4 trade secret information and materials, which are the subject of certain discovery requests in this

                    5 case. Plaintiffs do not dispute the need for a protective order; they only disagree over the form of

                    6 the protective order that should be entered for use in this case.

                    7             Good cause exists to grant Ford’s Motion because Ford has a legitimate interest in protecting

                    8 its confidential information, and Ford’s proposed Protective Order is reasonable, targeted, and will

                    9 allow the parties to continue to litigate this case without disruption. Ford’s proposed Protective
                   10 Order uses the Northern District of California Stipulated Protective Order for Standard Litigation

                   11 (“ND Model PO”) as an initial working draft, and incorporates certain modifications that are

                   12 essential to protect Ford’s interests. This is reasonable and efficient in light of the Northern District’s

                   13 guidance that “the Local Rules do not require the parties to use any of the model protective orders

                   14 and counsel may stipulate to or move for another form of protective order.” (See,

                   15 cand.uscourts.gov/forms/model-protective-orders/).

                   16             Ford requests that the Court grant this Motion and enter the Protective Order proposed by
                   17 Ford.

                   18             Ford’s requested modifications to the ND Model PO are:
                   19             1) Paragraph 1: Adds language to include customer personally identifiable information
                                     (“PII”) as a category of protected information;
                   20
                                  2) Paragraph 2.2: Adds clarifying language that protected information includes documents
                   21
                                     and also incorporates applicable law governing PII;
                   22
                                  3) Paragraph 2.3: Adds language to clarify that support staff are those individuals necessary
                   23                to assist with prosecution of the litigation. This paragraph is reasonable and necessary to
                                     more clearly delineate to whom protected information will be disclosed;
                   24
                                  4) Paragraphs 2.4, 2.14, 8 and 9(a): Adds language that allows marking protected documents
                   25
                                     or information as “Subject to Protective Order” as well as “Confidential.” Ford may
                   26                stamp its protected information “Subject to Protective Order” and use of this language
                                     creates uniformity and consistency in Ford’s ability to track protected information used
                   27                in matters;
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                    1             5) Paragraph 2.6: Adds language that an expert will be a non-attorney and will not be
                                     employed by a competitor of the designating party. This serves two important functions.
                    2                As to consultants being “non-attorneys,” without this modification, the receiving party
                                     could designate any lawyer as a “consultant” and disclose protected materials to that
                    3
                                     person, which would, again, obfuscate the purpose of the protective order. Second,
                    4                language is added that no expert or consultant may be employed by a competitor of the
                                     Designating Party or Ford. This is necessary because the greatest benefit to the protective
                    5                order is to prevent Ford’s proprietary and confidential business information from being
                                     disclosed to its competitors;
                    6
                                  6) Paragraph 2.9: Removes language regarding attorneys being “affiliated” with a law firm
                    7
                                     appearing on behalf of a party. Without this language, nothing prevents a receiving party
                    8                from entering into perfunctory agreements with other firms to “affiliate” and receive
                                     protected materials, which will obfuscate the protective order by essentially allowing
                    9                unfettered dissemination of materials to any such firm or its members. Should a receiving
                                     party affiliate another law firm to assist in the prosecution of this matter, the counsel of
                   10                record from that firm may simply agree to and sign the protective order.;
                   11
                                  7) Paragraph 2.12: Adds that professional vendors may also produce information;
                   12
                                  8) Paragraph 3: Adds language that documents or information could become part of the
                   13                public domain as a result of mistake, unintentional, or inadvertent production and
                                     clarifying that information that enters the public domain could be over objection by the
                   14                designating party and that all appellate remedies must be exhausted to consider it part of
                   15                the public domain. This modification is necessary because there may be an instance
                                     where protected information is mistakenly, inadvertently or unknowingly disclosed into
                   16                the public domain but not by the designating party or over the objection of the designating
                                     party and prior to the designating party seeking appellate relief. In such instances, the
                   17                documents or information should not lose their protected status simply because they are
                                     disseminated to the public through some act that is not made voluntarily by the
                   18                designating party;
                   19
                                  9) Paragraph 5.1: Clarifies that the Designating Party would be subject to an Order to Show
                   20                Cause prior to sanctions being issued, if applicable;

                   21             10) Paragraph 5.2: Clarifies that the parties can make agreement and also includes protection
                                      for mistaken, unintentional, or inadvertent lack of designation;
                   22

                   23                    a. 5.2(a) and (c): Adds availability to mark “Subject to Protective Order” and also
                                            removes language requiring piecemeal designation of protected information
                   24                       within the marginalia of documents;

                   25                    b. 5.2(b): Outlines a more detailed procedure for identifying protected information
                                            in depositions or hearings;
                   26

                   27             11) Paragraph 5.3: Removes the word “timely” and also allows for mistaken or unintentional
                                      failure to designate and also adds a more detailed procedure for handling situations of a
                   28                 failure to designate;
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                    1             12) Paragraph 6.2: Adds that the party challenging a designation will simply identify the
                                      challenged document by Bates number. Ford expects that most, if not all, documents
                    2                 produced in this matter will be produced with a Bates stamp and providing for specific
                                      designation by Bates number will speed up the process of the parties meeting and
                    3
                                      conferring and also create consistency in this meet and confer;
                    4             13) Paragraph 6.3: Proposes slightly longer periods for the parties to resolve issues with
                                      respect to challenges before bringing the issue(s) to the Court, clarifies that a Show Cause
                    5                 hearing will be held before sanctions are issued, and includes exhausting appellate
                                      proceedings before a challenged document is no longer protected;
                    6
                                  14) Paragraph 7.2(e): Adds videographers as individuals to whom protected documents may
                    7
                                      be provided;
                    8
                                  15) Paragraphs 7.2(f) and (g): Adds that a party will provide the designating party reasonable
                    9                 notice before providing protected documents to deposition witnesses or authors or
                                      recipients of protected documents and also that authors/recipients will sign the Exhibit A
                   10                 Acknowledgment and Agreement to Be Bound;
                   11
                                  16) Paragraph 8: Removes “timely” from a non-party’s time to seek a protective order;
                   12
                                  17) Paragraph 9(b)(3): Clarifies that it is referring to a “non-party”;
                   13
                                  18) Paragraph 9(c): Removes the 14-day requirement for a non-party to object or file a
                   14                 motion; Removes “timely;” and, clarifies that the party that must not produce information
                   15                 is the one in receipt of discovery requests;

                   16             19) Paragraph 10: Adds that the Receiving Party must also attempt to return, destroy, or
                                      delete protected information that was not authorized to be disclosed;
                   17
                                  20) Paragraph 11: Outlines a more detailed, efficient, economical and clear claw back
                   18                 procedure for documents, testimony, or information that are inadvertently produced but
                   19                 are protected by an applicable privilege or protection, such as the attorney-client privilege
                                      or work-product doctrine. This paragraph is necessary to efficiently set forth that
                   20                 inadvertent production of these materials is not a waiver of privilege or protection and to
                                      guide the parties in how to handle the inadvertent production of these materials in an
                   21                 orderly fashion;
                   22
                                  21) Paragraph 12.3: Clarifies a 30-day notice requirement or another timeframe agreed to by
                   23                 the parties before protected material is filed;

                   24             22) Paragraph 13: Provides clarifying language that deposition or trial exhibits may not be
                                      retained and that the parties will further meet and confer about other materials that will
                   25                 be maintained and that the parties reserve the right to object to retention of materials.
                                      Retaining exhibits to a deposition or trial will obfuscate the protective order because it
                   26
                                      allows a party to conceivably attach every protected document to a deposition, trial, or
                   27                 hearing, and then be able to maintain those at the conclusion of the case.

                   28 / / /
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                    1           In sum, these provisions are necessary and appropriate and should be included in the

                    2 protective order entered for use in this case.

                    3 II.       STATEMENT OF FACTS

                    4           A.     The Lawsuit

                    5           On May 28, 2019, Plaintiffs Steven R. Mironowski and Ruben Mironowski purchased a new

                    6 2019 Ford F-150. (See Complaint, ¶ 10.) On June 6, 2022, Plaintiffs filed suit against Ford for breach

                    7 of express and implied warranties, fraudulent inducement concealment, violations under the Song

                    8 Beverly Act (the “Act”) and violations of the Magnuson-Moss Warranty Act. (See Plaintiff’s

                    9 Complaint, generally.) Ford denies Plaintiff’s claims.
                   10           Ford responded to Plaintiff’s first set of discovery, which included 16 Interrogatories and 87
                   11 Requests for Production. (Vanderhoof Decl., ¶ 4.) In response to these requests, Ford produced

                   12 hundreds of pages of documents relating to Plaintiff’s vehicle. 1 Nevertheless, Plaintiffs recently

                   13 raised an issue for the first time in connection with the preparation of the Joint Mid-Discovery Report

                   14 related to “getting emails and reports relating to steps Ford took to reduce the various “symptom

                   15 codes” in the same make and model as the vehicle in this case.” (Dkt. #15, P. 3:12-14.) It is unclear

                   16 from the Mid-Discovery Report what issues Plaintiffs are referring to, but generally discovery

                   17 disputes with Plaintiffs’ counsel can be resolved if Ford agrees to produce certain confidential,

                   18 proprietary or trade secret information and materials, including but not limited to the following

                   19 specific documents:

                   20           •      Ford’s Warranty Policy & Procedure Manual, which is a document that details the
                   21                  policies and procedures that Ford developed over time for use by its dealers in the

                   22                  United States regarding warranty claim diagnosis, submission, allowance and

                   23                  reimbursement;

                   24           •      Ford’s Customer Relationship Center Policies and Procedures, which are developed
                   25                  and used by and for Ford’s Customer Relationship Center, which handles, assesses,

                   26                  documents, categorizes and resolves customer concerns that are reported to Ford by

                   27
                         1
                   28      These documents include the warranty claim history, service and repair records, the warranty
LEWIS                    guide, factory invoice, and communications between Plaintiffs and Ford. (Vanderhoof Decl., ¶ 4.)
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                    1                    consumers; and

                    2             •      Customer contacts received by Ford’s call center through Ford’s Global Contact
                    3                    Center Technology (“GCCT”) application regarding 2019 Ford F-150 vehicles

                    4                    purchased in California, which involve the same symptom codes (if any) as those

                    5                    present in the GCCT records for the subject vehicle, as well as the symptoms

                    6                    experienced by Plaintiffs as reflected in the repair or warranty records for the subject

                    7                    vehicle, subject to a protective order agreeable to Ford .(See id., Ex. A.)

                    8             As explained in the Declaration of Ford employee Jake Doss, if the documents described

                    9 above, over which Ford seeks protection in this Motion, were to enter the public domain, competitors
                   10 of Ford would gain an understanding of, among other things, the processes, procedures and

                   11 techniques Ford utilizes to design, develop, investigate and evaluate its products, customer concerns,

                   12 and repurchase efforts. The uncontrolled dissemination of this information would cause significant

                   13 competitive harm to Ford at the direct benefit of Ford’s competitors. (See, generally Declaration of

                   14 Jake Doss (“Doss Decl.”)) For example, a competitor may use Ford’s processes for how it classifies

                   15 customer concerns or how it determines when and whether to elevate a customer concern to improve

                   16 upon or develop their own customer care techniques or processes. Ford’s institutional knowledge is

                   17 a valuable commodity to Ford, and could be undermined through publication of the aforementioned

                   18 documents.

                   19             As set forth in the Doss Declaration, public disclosure of the documents and information
                   20 over which Ford seeks protection could cause injury to Ford if such information were made public

                   21 or otherwise available to those outside of Ford if they are not protected.

                   22             B.     The Parties Agree That A Protective Order is Warranted, But They Cannot

                   23                    Agree on the Form of the Order.

                   24             The parties agree that a protective order is warranted in this case but have been unable to

                   25 agree on the form of the order. In fact, it was Plaintiffs who first proposed the entry of protective

                   26 order. (Vanderhoof Decl., ¶ 4.) Despite Ford’s good faith efforts to find a mutually agreeable

                   27 protective order, Plaintiffs continue to reject Ford’s proposed Protective Order without providing

                   28 any meaningful explanation.
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                    1            C.     The Parties’ Meet and Confer Efforts

                    2            Ford and Plaintiffs’ counsel have attempted in this case and in the past to negotiate a

                    3 protective order in the numerous cases Plaintiffs’ counsel files against Ford. (Vanderhoof Decl., ¶

                    4 5.) In this instance, Plaintiffs’ counsel wholesale rejected Ford’s revisions to the ND Model “as not

                    5 necessary.” (Id. at ¶ 5, Ex. B.) With little exception, the only rationale given for the near blanket

                    6 rejection was that it is more efficient for Plaintiffs’ counsel to use a model protective order because

                    7 they have “hundreds of cases.” (Id.) Plaintiffs’ counsel’s rejection gives no consideration to what

                    8 Ford might require to protect its proprietary, confidential, and trade secret information. Accordingly,

                    9 the parties have been unable to reach an agreement. (Id.)
                   10 III.       ARGUMENT

                   11            A.     Ford’s Revisions to the Model Order are Reasonable and do not Prejudice

                   12                   Plaintiffs’ Prosecution of this Matter

                   13            There is no dispute that a protective order is necessary here; the parties have simply been

                   14 unable to reach an agreement as to the form of the protective order to govern the dissemination of

                   15 Ford’s proprietary, commercially sensitive, and confidential business information. Ford maintains

                   16 that its proposed Protective Order provides the proper protections, and Plaintiffs’ proposed version

                   17 is insufficient. There is nothing in Ford’s proposed order that limits Plaintiffs’ use of documents

                   18 and information that are subject to the order for their own preparation and prosecution of this case.

                   19            The majority of the revisions are simply made to clarify ambiguous terms or language or to

                   20 add more detailed procedures in an effort to prevent controversy and lead to more orderly resolution

                   21 of issues so that the parties do not unnecessarily involve the Court. Others are made to substantively

                   22 protect designated information in a fair and reasonable way as outlined herein.

                   23            Specifically as it relates to retention of protected documents and information, significant

                   24 federal court precedent is clear that a party does not have a right to retain another party’s protected

                   25 information simply because it is received in discovery. Indeed, on-point case law clearly provides

                   26 that a party’s ethical obligations to maintain certain portions of a client’s file does not also grant

                   27 them the right to maintain a party’s protected documents following the litigation. Cruz v. Dollar

                   28 Tree Stores, Inc., 2012 WL 1745539, at *1 (N.D. Ca. May 6, 2012). “[T]he Court is aware of no
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                    1 authority which has further broadened the rule so as to encompass the confidential information

                    2 disclosed by an opposing party through discovery.” Further, “it strains credulity to suggest that

                    3 another party’s confidential materials become the property of a client when they are produced

                    4 in discovery pursuant to a protective order.” Id. (emphases added).

                    5            B.     The Entryof a Protective Order Is Necessary to Ensure Reasonable Protection

                    6                   of Confidential Information

                    7            The Federal Rules of Civil Procedure govern the issuance of protective orders and provide

                    8 that:

                    9            A party or any person from whom discovery is sought may move for a protective
                                 order in the court where the action is pending. . . . The court may, for good cause,
                   10            issue an order to protect a party or person from annoyance, embarrassment,
                                 oppression, or undue burden or expense, including one or more of the following:
                   11

                   12       (G) requiring that a trade secret or other confidential research, development, or
                            commercial information not be revealed or be revealed only in a specified way.
                   13 See FED. R. Civ. P. 26(c)(1)(G).

                   14            Federal Rule of Civil Procedure 26(c) "confers broad discretion on the trial court to decide
                   15 when a protective order is appropriate and what degree of protection is required." Seattle Times v.

                   16 Rhinehart, 467 U.S. 20, 36, 104 S.Ct. 2199, 2209, 81 L.Ed.2d 17 (1984). Moreover, Rule

                   17 26(c)(1)(G) broadly protects not only trade secrets but also an array of other confidential

                   18 information. The United States Supreme Court has construed this language to cover more than just

                   19 trade secrets. In Federal Open Market Committee of the Federal Reserve System v. Merrill, a law

                   20 student sought disclosure from a government agency of it Record of Policy Actions. See 443 U.S.

                   21 340, 346-47, 99 S.Ct. 2800, 61 L.Ed.2d 587 (1979). Although these government records were not

                   22 trade secrets, the agency argued that they constituted confidential commercial information and were

                   23 subject to protection under federal case law and procedural rules. Id. at 356, 99 S.Ct. 2800. The

                   24 Court found that the government records were commercial information because they related to

                   25 buying and selling securities, and they were confidential because the agency kept them secret for a

                   26 month before disclosure. Id. At 361, 99 S.Ct. 2800. The Court wrote that a protective order under

                   27 Rule 26(c) may be warranted for such confidential commercial information. Id. At 357, 99 S.Ct.

                   28 2800.
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                    1            Further, courts consistently allow for the issuance of a protective order for trade secret,

                    2 proprietary, or confidential information upon a showing of good cause and, in most federal circuit

                    3 courts, including the 9th Circuit, a showing by the requesting party of specific prejudice or harm.

                    4 See, e.g., Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1130 (9th Cir. 2003) (requiring

                    5 showing of good cause and specific prejudice or harm if no order is granted); Anderson v. Cryovac,

                    6 805 F.2d 1, 7 (1st Cir. 1986) (allowing non-sharing protective order for good cause shown); Bridge

                    7 C.A.T. Scan Ass'n v. Technicare Corp., 710 F.2d 940, 944-45 (2d Cir. 1983) (same); Publicker

                    8 Indus. v. Cohen, 733 F.2d 1059, 1071 (3d Cir. 1984) (good cause is established by demonstrating

                    9 "a clearly defined and serious injury on the moving party"); McCarthy v. Barnett Bank of Polk Cty.,
                   10 876 F.2d 89, 91 (11th Cir. 1989) (party seeking protective order has burden of showing good cause);

                   11 U.S. ex rel. Purcell v. MWI Corp., 209 F.R.D. 21, 28 (D.D.C. 2002) (same).

                   12            Ford has a right to protect its confidential business information and trade secrets from public

                   13 dissemination. Here, Ford attaches the Declaration of Ford employee, Jacob Doss, who attests that

                   14 the documents at issue contain Ford’s confidential business information or consumer PII.

                   15 Specifically, the Customer Relationship Center Policies and Procedures are confidential to Ford

                   16 because they reveal Ford’s processes and methodologies to identify, document and resolve customer

                   17 concerns. (Doss Decl. at ¶¶ 8-10.) In this regard, the documents address the specifics of how

                   18 customer calls and contacts should be handled for a myriad of reasons, including inquiries regarding

                   19 general information, vehicle concerns, parts, roadside assistance, owner communications, and

                   20 others, and sets forth the process that each Customer Relationship Center member must follow to

                   21 process, document, handle and resolve those customer concerns. (Id.) Furthermore, the documents

                   22 address each employee’s role and responsibility within the Customer Relationship Center and

                   23 reveals Ford’s process to address, record, resolve, and where necessary, elevate customer concerns

                   24 using Ford’s established processes, including the process through which customer concerns are

                   25 processed, documented, handled and resolved by Ford. (Id.)

                   26            The manner in which Ford provides information to its Customer Relationship Center

                   27 members, how it classifies customer concerns reported to Ford, and how Ford determines when and

                   28 whether to elevate a concern, repurchase a vehicle, or otherwise communicate with its customers is
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                    1 proprietary to Ford. (Id. at ¶ ¶ 9-10.) In fact, such information and knowledge has been developed

                    2 by Ford over time and after considerable investments in and by its employees and third-party

                    3 vendors, which assist Ford with its customer care operations. Publication of these confidential

                    4 documents would undermine Ford’s long-standing investment in its employees and customer care

                    5 programs because the documents reveal Ford’s confidential training process and techniques.

                    6 Disclosure of documents would benefit a Ford competitor training its own employees on customer

                    7 communications or in developing its own process for such communications without the need to

                    8 expend the same time and investment in creating these processes as incurred by Ford.

                    9            Similarly, Ford’s Warranty and Policy Manual contains confidential processes established
                   10 by Ford for its dealers to receive, execute, and document, warranty and recall repairs in conformity

                   11 with Ford’s defined processes and procedures, as well as the process that Ford dealers follow when

                   12 submitting warranty reimbursement requests. (Doss Decl. at ¶ 11.) It also includes proprietary

                   13 discussions of allowances, costs, and reimbursements provided by Ford to its dealers relating to

                   14 those warranty repairs. (Id.) This nearly 400-page manual contains detailed information regarding

                   15 Ford’s warranty claim processes, as well as Ford’s methodology for complying with certain state

                   16 and federal laws and regulations. (Id.) Ford’s Warranty and Policy Manual is confidential to Ford

                   17 because it contains detailed information regarding Ford’s warranty claim processes, as well as

                   18 Ford’s methodology for complying with certain state and federal laws and regulations. These

                   19 practices and procedures were developed over time and with significant cost and investment by

                   20 Ford. (Id.) This document is unique to Ford and its authorized dealers and would have value to

                   21 Ford’s competitors if made public, because it would allow Ford’s competitors to replicate Ford’s

                   22 warranty policies and procedures, which are an essential component of Ford’s business relations

                   23 with its dealers, at little-to-no cost to such competitors. (Id.)

                   24            Customer contacts received by Ford’s call center through Ford’s Global Contact Center
                   25 Technology (“GCCT”) application contain confidential personally identifiable information (“PII”)

                   26 of private individuals who are not parties to the present lawsuit and who are unrelated to the issues

                   27 involved with the subject vehicle or Plaintiffs in this case. Ninth Circuit District Courts are clear

                   28 that compelling reasons exist to seal PII from public disclosure in the Court record; thus, clearly
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                    1 defining it as a protected class of information. Indeed, this Court has found compelling reasons to

                    2 seal personally identifiable information. See Am. Automobile Ass'n of N. Cal., Nev., & Utah, 2019

                    3 U.S. Dist. LEXIS 42978, 2019 WL 1206748, at *2 (N.D. Cal. Mar. 14, 2019) (finding compelling

                    4 reasons to seal personally identifiable information, "including names, addresses, phone numbers,

                    5 and email addresses"); Benedict v. Hewlett-Packard Co., 2014 U.S. Dist. LEXIS 7368, 2014 WL

                    6 233827, at *3 (N.D. Cal. Jan. 21, 2014) (granting motion to seal personal information, including a

                    7 home address, phone number, and email address).

                    8            The documents at issue here are deserving of protection because they are Ford’s confidential

                    9 business information and trade secrets and reveal methods and processes that Ford independently
                   10 developed and has maintained as confidential and secret to Ford, or contain PII of consumers. (See

                   11 Food Marketing Institute v. Argus Leader Media, d/b/a Argus Media, 588 U.S.__, 139 S.Ct. 2356

                   12 (2019) (“where commercial or financial information is both customarily and actually treated as

                   13 private by its owner… the information is ‘confidential’” and that “[t]he term ‘confidential’ meant

                   14 then, as it does now, ‘private’ or ‘secret.’”).) These documents are confidential because Ford derives

                   15 independent economic value from the information in these materials not being generally known to

                   16 the public or its competitors. Further, the information contained in these materials is not readily

                   17 ascertainable by proper means by the public or any other persons who could obtain commercial or

                   18 economic value from the information’s disclosure or use. Ford takes reasonable efforts to protect

                   19 the secrecy of these materials. Ford has invested incalculable resources to develop this information

                   20 and it is highly valuable to both Ford and its competitors. (See, e.g., Doss Decl.). Without a

                   21 Protective Order, there would be unfettered disclosure of this information, which would put Ford at

                   22 a competitive disadvantage in the automotive industry or reveal personal information of non-parties

                   23 without their consent. Entry of Ford’s Protective Order will facilitate production of these materials

                   24 in this matter. If disclosed, such information could harm Ford’s competitiveness in the automobile

                   25 market and impair the value of its institutional knowledge. Therefore Ford's Motion should be

                   26 granted, and the entry of Ford’s proposed Protective Order attached as Exhibit A to the Declaration

                   27 of Brian Vanderhoof is appropriate in this matter.

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                    1 IV.        CONCLUSION

                    2            Ford seeks entry of its Protective Order for materials that contain confidential, proprietary,

                    3 and commercially sensitive information, or personally identifiable information of non-party

                    4 consumers. For the reasons set forth above, there is good cause for the Court to protect Ford’s

                    5 confidential information from improper dissemination, and Ford respectfully requests that this Court

                    6 enter the proposed Protective Order attached as Exhibit A.

                    7 DATED: March 9, 2023                          LEWIS BRISBOIS BISGAARD & SMITH LLP

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                    9
                                                                    By:          /s/ Brian C. Vanderhoof
                   10                                                     BRIAN C. VANDERHOOF
                                                                          JONATHAN WON
                   11                                                     Attorneys for Defendant FORD MOTOR
                                                                          COMPANY
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                    1                                     CERTIFICATE OF SERVICE

                    2            I hereby certify that on March 9, 2023, a true and correct copy of the foregoing

                    3 DEFENDANT FORD MOTOR COMPANY’S NOTICE OF MOTION AND MOTION FOR

                    4 ENTRY OF PROTECTIVE ORDER TO GOVERN PRODUCTION OF CONFIDENTIAL

                    5 MATERIALS; MEMORANDUM OF POINTS AND AUTHORITIES was filed electronically

                    6 with the Clerk of the Court using the CM/ECF System. Notice of this filing will be sent by

                    7 operation of the Court’s electronic filing system to all parties listed on the CM/ECF System.

                    8 Parties may access this filing through the Court’s electronic filing system.

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                                                                           Cora Ruvalcaba
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